.. 
                  Case 2:17-cv-00335-TMP Document 5 Filed 04/04/17 Page 1 of 4                               FILED
                                                                                                        2017 Apr-04 PM 01:43
                                                                                                        U.S. DISTRICT COURT
                                                                                                            N.D. OF ALABAMA


                           ~~' :rN.1iRltlrNITED STATES DISTRICT COURT
                           . FOR"tIIE'NORTHERN DISTRICT OF ALABAMA

                       IDI11,PR   -lj ~fuftMAPAUPERISAFFIDAVIT

              Declar~~~~ili.einfO~~~ I have given below is. true and correct, I apply to this court
       for;

              I!. 	    appointment of an attorney.

              liiil    authority to commence an action without prepayment of fees, costs or security.

       1. 	   PERSONAL AND FINANCIAL DATA

       A. 	   Your full narue and present mailing address;

            15evERtY rsR.A8-"'H1'!A11lliL_ _ _ _ _ _ _ _ _~---- _ _ __
              Po 	 Eo>' 2.13 .
              AI2ftmsviL('c I 81- 3500$
       Telephone (if any): Z       0,. -.,IS· ~ 00 z....

       B.     Are you presently employed?            Yes     .,..     No _ _ __

               If the answer is "yes," give the name and address of your employer and the amount of
        your usual weekl¥ salary or w~s.                                                            . ,
       f:mt11!11.ful ..y.. j-I..a1=         &£11 Mlt...'OL· ..l ~eJ           »ov:.  I~MiI:. f~J
       ~ ,'M-~ j@wzg~oMI)
                	
                                                     a.t fAra1i. •f ..( ,4 ad Sqhlu·

       Weeklyeamings: $       4t)f) -PO      IIU-4!to   ~ ~<

              If you are not presently employed, give name and address ofyour last employer, when
       you last worked, and the amount ofweekly salary or wages you were receiving.




       Date last worked:
       Weeklyearnin~:      $ __________________________________
             Case 2:17-cv-00335-TMP Document 5 Filed 04/04/17 Page 2 of 4




       Approximately how much money have you received in the past twelve months:
       as wages, salary, commissions, or earned income of any kind?          $ ti"t2   '   (U   WUk.i'JlrA-v3-' 

       as interest, dividends, rents, or investment income of any kind?      $ () 

       as gifts or inheritance?                                              $ 0


       from social security, unemployment compensation, or any form
       of state or federal welfare payments or benefits?                     $ S~a., 00          5.s£C/l?of1~ 

       from pensions, annuities, workmen's compensation, disability 

       or other insurance policies?                                          $ --=0'-----______ 


       from all other sources?                                              $ ---"'0_ _ _ _ __

C.     How much money do you own or have in any checking or savings accounts?
                                                                     $ I~S·OC~,

D,     Do you own any real estate, stocks, bonds, notes, automobiles, boats, or other valuable
property (excluding ordinary household items and clothing)?        Yes X           No _ __

If the answer i~ "yes," describe the property and state its approximate value:
Ewfo(170bl Ie      - 7"!j oT,.., 2.-Oo~    !4ffltoX   4 J, ~ 00, DC



E.     How much money do you owe others?                                    $_----­
As to each debt of over $100,00, state the name of the creditor, the approximate total amount
owed to that creditor, and the monthly payment amount you currently owe and/or are paying to
that creditor,                               .
     YfllJntfit &tIM iv:.d> BIlls                ~ lS'£,,·/I.              PLIl.S
      fa+ot: "         I, 610,f)()


F,     List the persons who are dependent upon you for support, stating your relationship to
them and how much you contribute each year toward their support,
        NOt/v




                                                 2
                Case 2:17-cv-00335-TMP Document 5 Filed 04/04/17 Page 3 of 4




 G.     Are there any other persons regularly residing in your household who are over the age of 

 18 and who are presently employed?           Yes            No ---,X"",-_ _ 


          If the answer is "yes," five the following information for each such person:

          Name: 'P~ moon~
          Relationship: <P.!!\.Pn La u) 

          Employer: A/Dt ~'Yed - L'U$"o homf=.I Mho                        n..m.c   £!14)     tf.t.o~   :..;p 

          Weekly earnings: $ /32· Df) SO/!. .56!..                            (1.J2kfJ   -i    ~   o"''jki. 

          Name: _______________________________________________
          Relationship: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          Employer: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          Weeklyerurrrings: $ _________________________


 H.      Any other information which you believe supports your claim that you cannot financially
 afford to employ an attorney or to make payment of court fees, costs, or security.      . .~

 ~ ~~~ ~ ~J:~ :~.~
 >t,o,vj'P. 	        .~ ~~!~~'h c~­
                ~;~;;;Il~
.	~u~1f:!;&"h:! ~:~~. :2.00SwJtW-puilkhr).
1.6".    -tt..e:tik.I:.JtI<Q.(Lt <U\.d..~...-... ~e..:
                                  (Attach additional sheets as needed)

 II.      EFFORTS TO OBTAIN ATTORNEY

                                   (To be completed if requesting
                                    Appointment of an attorney)

 A.       Have you talked with an attorney about handling your claim? Yes ____ No           ><=
If "yes," give the following information about each attorney with whom you talked:

          Attorney: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ 

          When: 

                  ----------------------------------------------------
          Where: ----------------------------------------------------
                  

          How (by telephone, in person, etc.) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ 





                                                  3
               Case 2:17-cv-00335-TMP Document 5 Filed 04/04/17 Page 4 of 4




          Attorney: _______________________________________________________ 

          When: 
------------------------------------------------------
          Where: _________________________________________________________ 

          How (by telephone, in person, etc.) _____________________________________ 





  B.      Explain any other efforts you have made to contact an attorney to handler your claim.
                  AloPp<




  c.     Any other information which supports your application for the court to appoint an
  attorney for you:


          ;;J#~'~~F t::;.fk::;~1~~~.:;;.~""-
  D.     Name and address of each attorney who has represented you in the last ten (10) years for
  any purpose:




                                 (Attach additional sheets as needed)


  III.    ATTESTATION AND SIGNATURE

  Under penalty ofperjury, I declare that the information given on the preceding ±..pages is true
  and correct.


  Date:   3·3/-17                                      tgEU~~~~
                                                      SIGNATURE

  WITNESS:

  .a.".J!J m.......~ ."
~_6mw<a        a   ?kMo/nr.4

                                                  4
